     Case 3:07-cr-01408-WQH         Document 181        Filed 09/27/07     PageID.542        Page 1 of 1



 1    PAUL D. TURNER
      Attorney at Law
 2
      State Bar Number: 99174
 3    350 B Street, Suite 3100
      San Diego, California 92101
 4    Telephone: (619) 231-2001
      ptlaw@cox.net
 5
 6
      Attorney for Defendant, RUBEN HERNANDEZ-ROMERO
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 9
                                 UNITED STATES DISTRICT COURT
10
                               SOUTHERN DISTRICT OF CALIFORNIA
11                                   ( Hon. William Q. Hayes)
12
13       UNITED STATES OF AMERICA,                       ) Case No. 07 CR 1408-14-WQH
                                                         )
14                                                       ) ORDER FOR PAYMENT OF
                  Plaintiff,                             ) INTERPRETER EXPENSES
15                                                       )
                  vs.                                    )
16                                                       )
         RUBEN HERNANDEZ-ROMERO (14),                    )
17                                                       )
                  Defendant.                             )
18
19
             GOOD CAUSE APPEARING, in the Ex Parte Application for Payment of Extraordinary
20
      Expenses,
21
             IT IS HEREBY ORDERED pursuant to Title 18, United States Code, Sections
22
      3006(e)(1)that extraordinary expenses not to exceed $1,500.00 at this time are authorized for the
23
      interpreter services.
24
      DATED: September 27, 2007
25
26
                                                                WILLIAM Q. HAYES
14
27
                                                              United States District Judge
28
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